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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

CHRISTOPHER MCCROBIE,                                         ANSWER TO SECOND
                                                             AMENDED COMPLAINT
                         Plaintiff,
        -against-                                        Case No. 15-cv-00018-LJV-MJR

PALISADES ACQUISITION XVI, LLC, ASTA
FUNDING, INC., HOUSLANGER & ASSOCIATES,
PLLC AND TODD HOUSLANGER

                         Defendants.


        Defendant, Asta Funding, Inc. (hereinafter, “Defendant” or “Asta”), by and through its

attorneys, Blank Rome LLP, responds to Plaintiff’s Second Amended Complaint [DE 114]

(hereinafter the “Complaint”) as follows:


                                       AS TO INTRODUCTION
        1.      Defendant lacks knowledge or information as to each and every allegation

contained in paragraph “1” of the Complaint.

        2.      Defendant admits that a judgment was initially obtained by Centurion Capital

Corporation against Plaintiff. Defendant denies each and every other allegation contained in

paragraph “2” of the Complaint.

                               AS TO JURISDICTION AND VENUE

        3.      Admit.


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        4.      Defendant denies each and every allegation contained in paragraph “4” of the

Complaint.

        5.      Defendant lacks knowledge or information as to each and every allegation

contained in paragraph “5” of the Complaint.

                                         AS TO PARTIES

        6.      Defendant lacks knowledge or information as to each and every allegation

contained in paragraph “6” of the Complaint.

        7.      Defendant admits that Palisades is a foreign limited liability company organized

and existing under the laws of the State of New Jersey. Defendant denies each and every other

allegation contained in paragraph “7” of the Complaint.

        8.      Defendant admits only that Palisades is a purchaser of debts. Defendant lacks

knowledge or information sufficient to form a belief as to each and every allegation contained in

paragraph “8” of the Complaint.

        9.      Defendant admits only that it is a foreign corporation organized and existing under

the laws of the State of Delaware. Defendant denies that it is a debt collector as that term is defined

by 15 U.S.C. § 1692a(6).

        10.     Defendant denies each and every allegation contained in paragraph “10” of the

Complaint.

        11.     Admit.

        12.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “12” of the Complaint.

        13.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “13” of the Complaint.



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          14.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “14” of the Complaint. In addition, this paragraph should

be stricken for failing to comply with Fed R. Civ. P. 8(a)(2).

          12(*).1 Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “12(1)” of the Complaint.

                                      AS TO FACTUAL ALLEGATIONS

          13(*). Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “13(1)” of the Complaint.

          14(*). Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “14(1)” of the Complaint.

          15.     Admit.

          16.     Admit.

          17.     Admit.

          18.     Defendant denies each and every allegation contained in paragraph “18” of the

Complaint. Defendant further avers that Plaintiff attempted to challenge this in the Buffalo City

Court action and was unsuccessful.

          19.     Defendant denies each and every allegation contained in paragraph “19” of the

Complaint. Defendant further avers that Plaintiff attempted to challenge this in the Buffalo City

Court action and was unsuccessful.

          20.     Admit.

          21.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “21” of the Complaint.



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    The paragraphs which contain this reference (*) were listed twice in the complaint.

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        22.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “22” of the Complaint.

        23.     Defendant avers that the CPLR provision speaks for itself and that no response is

necessary. To the extent that it is determined that a response is required, Defendant lacks

knowledge or information sufficient to form a belief as to each and every allegation contained in

paragraph “23” of the Complaint.

        24.     Defendant avers that the non-binding cases cited speak for themselves and that no

response is necessary. To the extent that it is determined that a response is required, Defendant

lacks knowledge or information sufficient to form a belief as to each and every allegation contained

in paragraph “24” of the Complaint.

        25.     Defendant avers that the non-binding case and CPLR provision cited speak for

themselves and that no response is necessary. To the extent that it is determined that a response is

required, Defendant lacks knowledge or information sufficient to form a belief as to each and every

allegation contained in paragraph “25” of the Complaint.

        26.     Defendant avers that the statutes cited speak for themselves and that no response is

necessary. To the extent that it is determined that a response is required, Defendant lacks

knowledge or information sufficient to form a belief as to each and every allegation contained in

paragraph “26” of the Complaint.

        27.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “27” of the Complaint.

        28.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “28” of the Complaint.




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        29.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “29” of the Complaint.

        30.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “30” of the Complaint.

        31.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “31” of the Complaint.

        32.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “32” of the Complaint.

        33.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “33” of the Complaint.

        34.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “34” of the Complaint.

        35.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “35” of the Complaint.

        36.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “36” of the Complaint.

        37.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “37” of the Complaint.

        38.     Defendant denies each and every allegation contained in paragraph “38” of the

Complaint. Furthermore, paragraph “38” contravenes Fed. R. Civ. P. 9(b)’s protection of

reputation of individual defendants from the stain of allegations leveled against other parties. In

addition, this paragraph does not provide Defendant fair notice of what the claim is and the ground

upon which it rests and should be stricken for failure to comply with Fed. R. Civ. P. 8(a)(2).



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        39.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “39” of the Complaint.

        40.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “40” of the Complaint.

        41.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “41” of the Complaint.

        42.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “42” of the Complaint.

        43.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “43” of the Complaint.

        44.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “44” of the Complaint.

        45.     Defendant denies each and every allegation contained in paragraph “45” of the

Complaint.

        46.     The allegations in paragraph 46 of the Complaint reference a document [Plaintiff’s

Exhibit A], which speaks for itself. Defendant denies any factual allegations to the extent

inconsistent with the referenced document.

        47.     The allegations in paragraph 47 of the Complaint reference a document [Plaintiff’s

Exhibit A], which speaks for itself. Defendant denies any factual allegations to the extent

inconsistent with the referenced document. Defendant lacks knowledge or information sufficient

to form a belief as to the truth of each and every other allegation.




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        48.     The allegations in paragraph 48 of the Complaint reference a document [Plaintiff’s

Exhibit A], which speaks for itself. Defendant denies any factual allegations to the extent

inconsistent with the referenced document. Defendant lacks knowledge or information sufficient

to form a belief as to the truth of each and every other allegation.

        49.     The allegations in paragraph 49 of the Complaint reference a document [Plaintiff’s

Exhibit A], which speaks for itself. Defendant denies any factual allegations to the extent

inconsistent with the referenced document. Defendant lacks knowledge or information sufficient

to form a belief as to the truth of each and every other allegation.

        50.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “50” of the Complaint.

        51.     Defendant denies each and every allegation contained in paragraph “51” of the

Complaint.

        52.     Defendant denies each and every allegation contained in paragraph “52” of the

Complaint.

        53.     The allegations in paragraph 53 of the Complaint state a legal conclusion to which

no response is required. In further answering the allegations contained in paragraph 53 of the

Complaint, Defendant lacks knowledge or information sufficient to form a belief as to the truth of

the allegations.

        54.     Defendant denies each and every allegation contained in paragraph “54” of the

Complaint.

        55.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “55” of the Complaint.




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        56.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “56” of the Complaint.

        57.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “57” of the Complaint.

        58.     The allegations in paragraph 58 of the Complaint reference a document [Plaintiff’s

Exhibit A], which speaks for itself. Defendant denies any factual allegations to the extent

inconsistent with the referenced document. Defendant lacks knowledge or information sufficient

to form a belief as to the truth of each and every other allegation.

        59.     Defendant denies each and every allegation contained in paragraph “59” of the

Complaint.

        60.     The allegations in paragraph 60 of the Complaint state a legal conclusion to which

no response is required. In further answering the allegations contained in paragraph 60 of the

Complaint, Defendant lacks knowledge or information sufficient to form a belief as to the truth of

the allegations.

        61.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “61” of the Complaint.

        62.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “62” of the Complaint.

        63.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “63” of the Complaint.

        64.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “64” of the Complaint.




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        65.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “65” of the Complaint.

        66.     The allegations in paragraph 66 of the Complaint reference documents [Plaintiff’s

Exhibits D, E], which speaks for themselves. Defendant denies any factual allegations to the extent

inconsistent with the facts supporting the referenced documents. Defendant lacks knowledge or

information sufficient to form a belief as to the truth of each and every other allegation.

        67.     The allegations in paragraph 67 of the Complaint reference a document [Plaintiff’s

Exhibit F], which speaks for itself. Defendant denies any factual allegations to the extent

inconsistent with the referenced document. Defendant lacks knowledge or information sufficient

to form a belief as to the truth of each and every other allegation.

        68.     The allegations in paragraph 68 of the Complaint reference a document [Plaintiff’s

Exhibit D], which speaks for itself. Defendant denies any factual allegations to the extent

inconsistent with the facts supporting the referenced document. Defendant lacks knowledge or

information sufficient to form a belief as to the truth of each and every other allegation.

        69.     The allegations in paragraph 69 of the Complaint reference a document [Plaintiff’s

Exhibit F], which speaks for itself. Defendant denies any factual allegations to the extent

inconsistent with the referenced document. Defendant lacks knowledge or information sufficient

to form a belief as to the truth of each and every other allegation.

        70.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “70” of the Complaint.

        71.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “71” of the Complaint.




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        72.     The allegations in paragraph 72 of the Complaint reference a document [Plaintiff’s

Exhibit G], which speaks for itself. Defendant denies any factual allegations to the extent

inconsistent with the referenced document. Defendant lacks knowledge or information sufficient

to form a belief as to the truth of each and every other allegation.

        73.     Defendant lacks knowledge or information sufficient to form a belief as to each and

every allegation contained in paragraph “73” of the Complaint.

        74.     The allegations in paragraph 74 of the Complaint reference a website, which speaks

for itself. Defendant denies any factual allegations to the extent inconsistent with the referenced

website. In further answering the allegations contained in paragraph 74 of the Complaint, since the

website is selectively quoted, Defendant lacks knowledge or information sufficient to form a belief

as to the truth of the allegations.

        75.     Defendant denies each and every allegation contained in paragraph “75” of the

Complaint. Furthermore, paragraph “75” contravenes Fed. R. Civ. P. 9(b)’s protection of

reputation of individual defendants from the stain of allegations leveled against other parties. In

addition, paragraph “75” disregards Fed. R. Civ. P. 10(b), which provides that “[a] party must state

its claims and defenses in number paragraphs, each limited as far as practicable to a single set of

circumstances.” In addition, this paragraph does not provide Defendant fair notice of what the

claim is and the ground upon which it rests and should be stricken for failure to comply with Fed.

R. Civ. P. 8(a)(2).

        76.     Defendant denies each and every allegation contained in paragraph “76” of the

Complaint. Furthermore, paragraph “76” contravenes Fed. R. Civ. P. 9(b)’s protection of

reputation of individual defendants from the stain of allegations leveled against other parties. In

addition, paragraph “76” disregards Fed. R. Civ. P. 10(b), which provides that “[a] party must state



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its claims and defenses in number paragraphs, each limited as far as practicable to a single set of

circumstances.” In addition, this paragraph does not provide Defendant fair notice of what the

claim is and the ground upon which it rests and should be stricken for failure to comply with Fed.

R. Civ. P. 8(a)(2).

        77.     Defendant denies each and every allegation contained in paragraph “77” of the

Complaint.

        78.     Defendant denies each and every allegation contained in paragraph “78” of the

Complaint.

                                      AS TO COUNT ONE

        79.     In response to paragraph “79” of the Complaint, Defendant reasserts and

incorporates all responses in paragraphs “1” to “78” by reference.

        80.     Defendant avers that this paragraph containing a putative class definition does not

contain a single allegation against Defendant Asta Funding, and that no response is necessary. To

the extent that a response is necessary, Defendant lacks knowledge or information sufficient to

form a belief as to each and every allegation contained in paragraph “80” of the Complaint.

        81.     Defendant avers that the FDCPA speaks for itself and that no response is necessary.

To the extent that a response is necessary, defendant lacks knowledge or information sufficient to

form a belief as to each and every allegation contained in paragraph “81” of the Complaint.

        82.     Defendant avers that the FDCPA speaks for itself and that no response is necessary.

To the extent that a response is necessary, defendant lacks knowledge or information sufficient to

form a belief as to each and every allegation contained in paragraph “82” of the Complaint.




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        83.     Defendant avers that the FDCPA speaks for itself and that no response is necessary.

To the extent that a response is necessary, defendant lacks knowledge or information sufficient to

form a belief as to each and every allegation contained in paragraph “83” of the Complaint.

        84.     Defendant avers that the FDCPA speaks for itself and that no response is necessary.

To the extent that a response is necessary, defendant lacks knowledge or information sufficient to

form a belief as to each and every allegation contained in paragraph “84” of the Complaint.

        85.     Defendant avers that the FDCPA speaks for itself and that no response is necessary.

To the extent that a response is necessary, defendant lacks knowledge or information sufficient to

form a belief as to each and every allegation contained in paragraph “85” of the Complaint.

        86.     Defendant avers that the FDCPA speaks for itself and that no response is necessary.

To the extent that a response is necessary, defendant lacks knowledge or information sufficient to

form a belief as to each and every allegation contained in paragraph “86” of the Complaint.

        87.     Defendant avers that the FDCPA speaks for itself and that no response is necessary.

To the extent that a response is necessary, defendant lacks knowledge or information sufficient to

form a belief as to each and every allegation contained in paragraph “87” of the Complaint.

        88.     Defendant avers that the FDCPA speaks for itself and that no response is necessary.

To the extent that a response is necessary, defendant lacks knowledge or information sufficient to

form a belief as to each and every allegation contained in paragraph “88” of the Complaint.

        89.     Defendant avers that the FDCPA speaks for itself and that no response is necessary.

To the extent that a response is necessary, defendant lacks knowledge or information sufficient to

form a belief as to each and every allegation contained in paragraph “89” of the Complaint.

        90.     Defendant denies each and every allegation contained in paragraph “90” of the

Complaint. Furthermore, paragraph “90” contravenes Fed. R. Civ. P. 9(b)’s protection of



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reputation of individual defendants from the stain of allegations leveled against other parties. In

addition, paragraph “90” disregards Fed. R. Civ. P. 10(b), which provides that “[a] party must state

its claims and defenses in number paragraphs, each limited as far as practicable to a single set of

circumstances.” In addition, this paragraph does not provide Defendant fair notice of what the

claim is and the ground upon which it rests and should be stricken for failure to comply with Fed.

R. Civ. P. 8(a)(2).

        91.     Defendant denies each and every allegation contained in paragraph “91” of the

Complaint.

        92.     Defendant denies each and every allegation contained in paragraph “92” of the

Complaint.

        93.     Defendant denies each and every allegation contained in paragraph “93” of the

Complaint.

        94.     Defendant denies each and every allegation contained in paragraph “94” of the

Complaint.

        95.     Defendant denies each and every allegation contained in paragraph “95” of the

Complaint. Furthermore, Plaintiff does not distinguish between which factual allegation

corresponds to which statutory violation, thereby preventing Defendant from having a fair

understanding of what Plaintiff is specifically alleging. In addition, this paragraph should be

stricken for failing to comply with Fed R. Civ. P. 8(a)(2).

        96.     Defendant denies each and every allegation contained in paragraph “96” of the

Complaint. Furthermore, Plaintiff’s legal allegations are not tied to any of the preceding facts and

contravenes Fed. R. Civ. P. 9(b)’s protection of reputation of individual defendants from the stain

of allegations leveled against other parties.



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        97.     Defendant denies each and every allegation contained in paragraph “97” of the

Complaint.

        98.     Defendant denies each and every allegation contained in paragraph “98” of the

Complaint. Furthermore, Plaintiff’s legal allegations against Defendant Asta Funding are not tied

to any of the preceding facts and Plaintiff’s blanket invocation of “defendants” does not identify

any specific act or actors.

                                     AS TO COUNT TWO

        99.     In response to paragraph “99” of the Complaint, Defendant reasserts and

incorporates all responses in paragraphs “1” to “98” by reference.

        100.    Defendant avers that this paragraph containing a putative class definition does not

contain a single allegation against Defendant Asta Funding, and that no response is necessary. To

the extent that a response is necessary, denies each and every allegation contained in paragraph

“100” of the Complaint.

        101.    Defendant denies each and every allegation contained in paragraph “101” of the

Complaint.

        102.    Defendant denies each and every allegation contained in paragraph “102” of the

Complaint. Furthermore, paragraph “102” contravenes Fed. R. Civ. P. 9(b)’s protection of

reputation of individual defendants from the stain of allegations leveled against other parties. In

addition, paragraph “102” disregards Fed. R. Civ. P. 10(b), which provides that “[a] party must

state its claims and defenses in number paragraphs, each limited as far as practicable to a single

set of circumstances.” In addition, this paragraph does not provide Defendant fair notice of what

the claim is and the ground upon which it rests and should be stricken for failure to comply with

Fed. R. Civ. P. 8(a)(2).



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        103.    Defendant denies each and every allegation contained in paragraph “103” of the

Complaint. Furthermore, paragraph “103” contravenes Fed. R. Civ. P. 9(b)’s protection of

reputation of individual defendants from the stain of allegations leveled against other parties.

        104.    Defendant denies each and every allegation contained in paragraph “104” of the

Complaint. Furthermore, Plaintiff’s blanket invocation of “defendants” does not identify any

specific act or actors.

        105.    Defendant denies each and every allegation contained in paragraph “105” of the

Complaint. Furthermore, Plaintiff’s blanket invocation of “defendants” does not identify any

specific act or actors.

        106.    Defendant denies each and every allegation contained in paragraph “106” of the

Complaint. Furthermore, paragraph “106” contravenes Fed. R. Civ. P. 9(b)’s protection of

reputation of individual defendants from the stain of allegations leveled against other parties.

        107.    Defendant denies each and every allegation contained in paragraph “107” of the

Complaint. Furthermore, paragraph “107” contravenes Fed. R. Civ. P. 9(b)’s protection of

reputation of individual defendants from the stain of allegations leveled against other parties.

        108.    Defendant denies each and every allegation contained in paragraph “108” of the

Complaint. Furthermore, Plaintiff’s blanket invocation of “defendants” does not identify any

specific act or actors.

        109.    Defendant denies each and every allegation contained in paragraph “109” of the

Complaint. Furthermore, paragraph “109” contravenes Fed. R. Civ. P. 9(b)’s protection of

reputation of individual defendants from the stain of allegations leveled against other parties.

        110.    Defendant denies each and every allegation contained in paragraph “110” of the

Complaint.



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        111.    Defendant denies each and every allegation contained in paragraph “111” of the

Complaint.

        112.    Defendant denies each and every allegation contained in paragraph “112” of the

Complaint.

        113.    Defendant denies each and every allegation contained in paragraph “113” of the

Complaint. Furthermore, Plaintiff does not distinguish between which factual allegation

corresponds to which statutory violation, thereby preventing Defendant from having a fair

understanding of what Plaintiff is specifically alleging. In addition, this paragraph should be

stricken for failing to comply with Fed R. Civ. P. 8(a)(2).

        114.    Defendant denies each and every allegation contained in paragraph “114” of the

Complaint. Furthermore, Plaintiff’s legal allegations are not tied to any of the preceding facts and

contravenes Fed. R. Civ. P. 9(b)’s protection of reputation of individual defendants from the stain

of allegations leveled against other parties.

        115.    Defendant denies each and every allegation contained in paragraph “115” of the

Complaint. In addition, this paragraph should be stricken for failing to comply with Fed R. Civ. P.

8(a)(2).

        116.    Defendant denies each and every allegation contained in paragraph “116” of the

Complaint. Furthermore, Plaintiff’s blanket invocation of “defendants” does not identify any

specific act or actors.

                      AS AND FOR A FIRST AFFIRMATIVE DEFENSE

        117.    Defendant is informed and believes, and, based thereon alleges, that Plaintiff’s

Complaint, and each cause of action contained therein, or portions thereof, are barred by the

applicable statutes of limitations.



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                     AS AND FOR A SECOND AFFIRMATIVE DEFENSE

        118.    Plaintiff’s Complaint and each purported cause of action alleged therein against

Defendant are barred because Defendant had no knowledge of, nor did it participate in, approve,

authorize, or ratify, any of the alleged misconduct of any other Defendant.


                      AS AND FOR A THIRD AFFIRMATIVE DEFENSE

        119.     Plaintiff is barred from any recovery or relief against Defendant because Plaintiff’s

complaint fails to allege facts sufficient to state a claim upon which relief may be granted.


                     AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

        120.     Plaintiff is barred from any recovery or relief against Defendant because of

dispositive judicial determinations against Plaintiff in the state court action, and the applicable

legal doctrines of collateral estoppel, abstention, and res judicata.


                      AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

        121.     Plaintiff is barred from any recovery or relief against Defendant because Plaintiff

does not allege sufficient facts to support the legal standard for piercing Defendant Palisades’

corporate veil. Likewise, Plaintiff does not allege facts to support the allegations that Defendant is

vicariously liable for the alleged conduct of other parties.


                      AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

        122.     Plaintiff is barred from any recovery or relief against Defendant because Defendant

is not a debt collector subject to the FDCPA.




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                    AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

        123.     Plaintiff is barred from any recovery or relief against Defendant because the

allegations and claims asserted by Plaintiff have always been and continue to be objectively

frivolous, groundless and without merit as against Defendant.


                     AS AND FOR AN EIGTH AFFIRMATIVE DEFENSE

        124.     Plaintiff is barred from any recovery or relief against Defendant by the doctrine of

unclean hands. While premised on grounds of consumer protection, Plaintiff’s allegations against

Defendant are strictly an attempt at unwarranted pecuniary gain.


                      AS AND FOR A NINTH AFFIRMATIVE DEFENSE

        125.    The foregoing affirmative defenses are raised by Defendant without waiver of any

other defenses that may develop during the course of discovery and Defendant reserves its right to

amend and/or supplement its Answer to assert such additional defenses as they become available.


        WHEREFORE, Defendant requests that the Court enter an order (1) dismissing the

complaint with prejudice; (2) awarding Defendant its costs and expenses incurred herein; and (3)

awarding Defendant such other and further relief as the Court may deem just and proper.

Dated: New York, New York
       September 30, 2019

                                                       BLANK ROME LLP

                                                       By:   s/ Hilary F. Korman
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                                                Attorneys for Defendant Asta
                                                Funding, Inc.


To:     All parties of record by ECF




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